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                                                      - 907 -
                             Nebraska Court of Appeals Advance Sheets
                                  31 Nebraska Appellate Reports
                                        IN RE ADOPTION OF ANTAEUS A.
                                              Cite as 31 Neb. App. 907



                          In re Adoption of Antaeus A., a minor child.
                            William M. and Elizabeth M., appellees,
                                 v. Andrew A., appellant, and
                                      Rachel D., appellee.
                                                  ___ N.W.2d ___

                                        Filed May 16, 2023.     No. A-22-594.

                 1. Adoption: Appeal and Error. Appeals in adoption proceedings are
                    reviewed by an appellate court for error appearing on the record.
                 2. Judgments: Appeal and Error. When reviewing a judgment for errors
                    appearing on the record, the inquiry is whether the decision conforms
                    to the law, is supported by competent evidence, and is neither arbitrary,
                    capricious, nor unreasonable.
                 3. Abandonment: Evidence: Proof. In order for a court to find that aban-
                    donment has occurred, the petitioning party bears the burden of proving
                    by clear and convincing evidence that the parent abandoned the child.
                 4. Abandonment: Proof. To constitute abandonment, it must appear that
                    there has been, by the parents, a giving up or total desertion of the minor
                    child. There must be shown an absolute relinquishment of the custody
                    and control of the minor and thus the laying aside by the parents of all
                    care for the minor.
                 5. Adoption. Adoption statutes will be strictly construed in favor of the
                    rights of the natural parents in controversies involving termination of
                    the relation of the parent and child.
                 6. Abandonment: Evidence: Appeal and Error. The various definitions
                    of abandonment do not require an appellate court to review the statu-
                    tory period in a vacuum. One may consider the evidence of a parent’s
                    conduct, either before or after the statutory period, because this evidence
                    is relevant to a determination of whether the purpose and intent of that
                    parent was to abandon his or her child or children.
                 7. Abandonment: Intent: Evidence. Evidence of a parent’s conduct is rel-
                    evant to a determination of whether the purpose and intent of that parent
                    was to abandon the child.
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
                IN RE ADOPTION OF ANTAEUS A.
                      Cite as 31 Neb. App. 907
  Appeal from the County Court for Madison County:
Michael L. Long, Judge. Affirmed.
  Kory L. Quandt and Ryan M. Hoffman, of Bressman,
Hoffman &amp; Jacobs, P.C., L.L.O., for appellant.
  Susan K. Sapp and Nathan D. Clark, of Cline, Williams,
Wright, Johnson &amp; Oldfather, L.L.P., for appellees William M.
and Elizabeth M.
  Riedmann, Bishop, and Arterburn, Judges.
  Riedmann, Judge.
                       INTRODUCTION
   This is Andrew A.’s appeal from the order of the county
court for Madison County finding that his consent, as the bio-
logical father, to the adoption of Antaeus A. was not needed.
Andrew assigns that the county court erred in finding that the
adoptive parents proved by clear and convincing evidence that
he abandoned the minor child in the 6-month period preceding
the filing of the adoption petition. Following our review for
error appearing on the record, we affirm.
                      BACKGROUND
   On December 10, 2021, the district court for Madison
County issued an order for consent to adoption of Antaeus
upon the motion of his biological mother, Rachel D. On
January 19, 2022, William M. and Elizabeth M. filed a peti-
tion for adoption of Antaeus in the county court for Madison
County; the petition alleged that Andrew and Rachel had
abandoned Antaeus. The county court granted William and
Elizabeth’s motion to bifurcate and scheduled a trial on the
issue of abandonment by Andrew.
   Relevant to this appeal, the evidence showed that Andrew
and Rachel met at a homeless shelter in Colorado Springs,
Colorado. Approximately a week later, Rachel became preg-
nant. While pregnant with Antaeus, Rachel resided with
Andrew in an apartment in Colorado Springs, though she left
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
                IN RE ADOPTION OF ANTAEUS A.
                      Cite as 31 Neb. App. 907
the apartment at various times, including twice because of
domestic violence and twice because Andrew “kicked [her]
out” of the apartment. On one occasion, she was unable to find
shelter and slept outside.
   Rachel, working with various resources in Colorado
Springs, was able to obtain items for use when Antaeus
was born, such as a crib and changing table, a breast pump,
and diapers. A month before her due date, Andrew quit his
job and decided the two would move to Blair, Nebraska, to
live with his mother. Rachel was under the impression that
they were going to sell the baby items to raise funds for the
move; instead, Andrew used the money to purchase marijuana.
Rachel described Andrew as very controlling and verbally
combative and agreed that the environment in which she lived
was volatile.
   Antaeus was born in July 2016 in Colorado Springs. He was
kept in the hospital an extra day because staff discovered that
Rachel did not have a crib. Shortly after Antaeus’ birth, the
three moved to Nebraska; Rachel described the first 4 weeks of
living with Andrew and his mother, stating that Andrew would
argue with his mother, call her names, and get “pretty angry”
with her, and that once, he spit on his mother and threatened
to beat her up.
   On August 24, 2016, Andrew became suspicious after Rachel
went to the bathroom, because he was convinced that Rachel
“had done something in the bathroom other than peeing,” and
a confrontation between the two occurred. When Andrew’s
mother intervened, Andrew screamed at his mother and Rachel
heard his mother scream and what sounded like his mother’s
being punched several times.
   As a result of this incident, Andrew was arrested and jailed
“for a long period of time.” Sometime in the fall of 2016,
Rachel worked with a domestic violence shelter in Norfolk,
Nebraska, that arranged for her and Antaeus to be transported
from Blair to the shelter in Norfolk. After a couple of months
in the emergency shelter, Rachel moved to the program’s
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
                 IN RE ADOPTION OF ANTAEUS A.
                       Cite as 31 Neb. App. 907
transitional house. During this time, Andrew was in jail;
Rachel used money from a joint account she had with Andrew
for financial support. Eventually, Rachel obtained a job and
replaced the money that had been in the checking account.
   In February 2017, Rachel filed a petition in the Madison
County District Court to establish custody of Antaeus. In May,
a decree established paternity of Antaeus and awarded Rachel
sole physical and legal custody. Andrew was not awarded any
parenting time, nor was he ordered to pay child support. Also
in May, Rachel obtained a temporary domestic abuse protec-
tion order against Andrew, which did not prohibit contact
between Antaeus and Andrew. The order was affirmed in June
and was in place until May 2019.
   Andrew did not have contact with Antaeus from the time
of Andrew’s arrest in August 2016 until sometime in 2018.
During 2017, Rachel employed William and Elizabeth as
supplemental daycare providers for Antaeus so she could work
a second job. Eventually, they provided full-time daycare
for Antaeus.
   In December 2017, Andrew, represented by counsel, filed a
complaint to modify the decree of paternity. In February 2018,
Andrew filed a motion for a temporary order requesting visi-
tation with Antaeus and establishing child support payments.
The court denied parenting time until Andrew established a
plan for supervised visitation at a local mental health facility.
The district court found that was necessary based on Andrew’s
prior violation of the protection order, his criminal history,
and the manner in which he testified, which led the court to
conclude that he was “not sufficiently in control of his emo-
tional behavior such that he would be able to properly parent a
child.” It did not order Andrew to pay child support.
   Pursuant to the temporary order, Andrew arranged for
supervised visits, but due to his aggressive behavior toward
the supervising facilities’ staff, he had only four 2-hour visits
throughout 2018. He did not provide any voluntary finan-
cial support for Antaeus; however, he did offer some gifts
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
                 IN RE ADOPTION OF ANTAEUS A.
                       Cite as 31 Neb. App. 907
through his attorney at a court hearing, but Rachel declined
his offer because the protection order was still in place.
   On May 23, 2019, the district court entered an order on
Andrew’s complaint to modify. It acknowledged Andrew’s
aggressive behaviors during the four supervised visits, his
extensive criminal history, and his inability to exercise paren-
tal judgment in an unsupervised setting. The court granted
Andrew limited supervised visitation for 2 hours on the first
Saturday of each month. The district court did not order child
support, because it was not convinced that Andrew had the
ability to support himself or hold an employed position for
any length of time due to his “unusual behaviors” shown
in court.
   Despite the court’s order, Andrew did not exercise any visi-
tation in 2019. He filed an unverified affidavit and application
for an order to show cause on June 7, in which he alleged
that Rachel was being noncompliant with the visitation order.
Contrary to the order, he asserted that the judge did not limit
the number of visits he was entitled to. No hearing was ever
held on the application.
   At some point in late 2019, Rachel left Norfolk and moved
to Omaha, Nebraska, for about 6 months before eventually
moving to Hastings, Nebraska, to attend a treatment center.
After the treatment program, Rachel went to a homeless shel-
ter. Rachel had trouble transitioning back into the community,
and she decided it was not fair to put Antaeus in that situation.
She did not feel Andrew was a viable option. Although Rachel
had not spoken to William and Elizabeth in a long time, she
contacted them to see if they would “take” Antaeus. They
agreed and picked up Antaeus from Hastings on August 16,
2020; he has been in their care since that date.
   In July 2020, Andrew, represented by new counsel, filed
a complaint for modification. He asserted that a material
change in circumstances existed because he was now lead-
ing a sober and law-abiding life; therefore, he requested
that he be awarded reasonable unsupervised parenting time.
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
                 IN RE ADOPTION OF ANTAEUS A.
                       Cite as 31 Neb. App. 907
Thereafter, Andrew had two supervised visits with Antaeus,
which were his only visits in 2020. Andrew’s counsel withdrew
in late 2020, and there were no additional requests for visita-
tion. The modification complaint was dismissed for lack of
prosecution in December. Rachel admitted that she had failed
to keep her address updated with the court for some period of
time; however, by the time Andrew’s counsel withdrew, she
had an address on file where she could be contacted.
   William testified that he and Elizabeth have had placement
of Antaeus since August 16, 2020. From that date to the filing
of the adoption petition on January 19, 2022, William did not
receive any request for visitation or any financial support from
Andrew. After the filing of the adoption petition, Andrew con-
tacted William one time to let him know he had been released
from incarceration and “was looking to find how he fought
this process.”
   The guardian ad litem (GAL) testified that in the course
of his investigation, he had two phone conversations with
Andrew in February 2022. The GAL confirmed that in the 6
months prior to the filing of the adoption petition, Andrew
did not provide any financial support for Antaeus. The GAL
expressed concern with the possessive tone in which Andrew
spoke of Antaeus and with Andrew’s criminal history. He
related that Andrew had been arrested between 30 and 40
times and that beginning in 2019, there were a series of
assaults for which he served a lengthy jail sentence. Most
recently, Andrew served a sentence for obstruction of a police
officer, disturbing the peace, and resisting arrest in the second
half of 2021.
   The GAL confirmed that the 6-month period at issue was
from July 2021 to January 23, 2022. During that time period,
Andrew authored several letters to both the district court
and county court judges in Madison County. In those letters,
Andrew expressed a willingness to pay child support; however,
the GAL noted that at the time the letters were filed, notifi-
cation had already been given of the intent to adopt. Based
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
                 IN RE ADOPTION OF ANTAEUS A.
                       Cite as 31 Neb. App. 907
upon his investigation, the GAL concluded that Andrew had
abandoned Antaeus and that it was in the child’s best interests
for the court to authorize the GAL to give substituted consents
for adoption.
   Andrew testified at the hearing. He explained that he filed a
complaint to modify the paternity decree in December 2017 so
he could have parenting time and pay child support, because
he wanted to be an integral part of Antaeus’ life. In June
2019, Andrew filed an application for an order to show cause
because Rachel failed to bring Antaeus to two supervised
visits. No trial was ever held on the application. Thereafter,
Andrew sent letters to the district court judge in an attempt to
get parenting time. At the time, Andrew was incarcerated and
had a pending criminal case before the district court judge to
whom he sent the letters. He admitted on cross-examination
that the letters were for purposes of not only his domestic
case, but also his criminal case on which he was await-
ing sentence.
   Andrew explained that in November 2021, while he was
incarcerated, he wrote a letter to the district court judge
because he wanted to regain custody of Antaeus, receive more
visits, and pay child support. Although Andrew testified that
he did not know the whereabouts of his son, he never asked
Rachel where he was, nor did he hire an attorney to help him.
As to the letters he wrote to the court throughout December
and into January 2022, Andrew admitted on cross-examination
that at the time he wrote the letters, he had already received
notice of the filing of the motion relating to consent to proceed
with the adoption.
   Andrew confirmed that in the 5 years since Antaeus was
born, he had had a total of six supervised visits, but empha-
sized that he had written numerous letters to the court to
demonstrate his intent to be with Antaeus. Andrew testified
that he had written letters to Rachel and sent them to a mis-
sion and a shelter in Norfolk and that although the shelter
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
                 IN RE ADOPTION OF ANTAEUS A.
                       Cite as 31 Neb. App. 907
initially stated copies of the letters could be provided, they
later recanted that.
   Rachel did not receive support from Andrew from 2017
through 2020. Aside from the money from the checking account
that she used, which money she replaced, there was never any
money or support ever given. William also never received
any support from Andrew after Antaeus was placed in his and
Elizabeth’s care.
   The county court issued an order in which it found that
Andrew had abandoned Antaeus in the 6 months or more prior
to the filing of the petition for adoption. A decree of adoption
was issued in July 2022. Andrew appealed.
                  ASSIGNMENT OF ERROR
    Andrew assigns that the county court erred in finding that
the adoptive parents proved by clear and convincing evidence
that he had abandoned Antaeus in the 6 months preceding the
filing of the adoption petition and that therefore, his consent to
the adoption would not be required.
                   STANDARD OF REVIEW
   [1,2] Appeals in adoption proceedings are reviewed by an
appellate court for error appearing on the record. When review-
ing a judgment for errors appearing on the record, the inquiry
is whether the decision conforms to the law, is supported by
competent evidence, and is neither arbitrary, capricious, nor
unreasonable. In re Adoption of Micah H., 301 Neb. 437, 918
N.W.2d 834 (2018).
                         ANALYSIS
   Andrew argues the county court erred in finding he had
abandoned Antaeus in the 6 months preceding the filing of
the adoption petition. At the time of these proceedings, Neb.
Rev. Stat. § 43-104(1) (Reissue 2016) required written con-
sent from the biological parents prior to an adoption being
decreed. However, § 43-104(2)(b) excused this requirement
of a parent who abandoned the child for the 6 months
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
                 IN RE ADOPTION OF ANTAEUS A.
                       Cite as 31 Neb. App. 907
preceding the filing of the adoption petition. Our focus,
therefore, is on whether Andrew abandoned Antaeus for the
requisite time period.
   [3,4] In order for a court to find that abandonment has
occurred, the petitioning party bears the burden of proving by
clear and convincing evidence that the parent abandoned the
child. In re Adoption of Micah H., supra. To constitute aban-
donment, it must appear that there has been, by the parents, a
giving up or total desertion of the minor child. Id. There must
be shown an absolute relinquishment of the custody and con-
trol of the minor and thus the laying aside by the parents of all
care for the minor. Id.
   [5,6] Adoption statutes will be strictly construed in favor of
the rights of the natural parents in controversies involving ter-
mination of the relation of the parent and child. Id. The various
definitions of abandonment do not require an appellate court to
review the statutory period in a vacuum. Id. One may consider
the evidence of a parent’s conduct, either before or after the
statutory period, because this evidence is relevant to a determi-
nation of whether the purpose and intent of that parent was to
abandon his or her child or children. Id.
   [7] Andrew argues that his efforts of filing modification
petitions and writing letters to the court professing his paren-
tal desire evinces his intent to parent Antaeus and negates
a finding of abandonment. However, abandonment may be
found where there is willful, intentional, or voluntary conduct,
without just cause or excuse, that evinces a willful neglect and
refusal to perform the natural and legal obligations of paren-
tal care and support. See In re Adoption of Micah H., supra.
Evidence of a parent’s conduct is relevant to a determination of
whether the purpose and intent of that parent was to abandon
the child. Jeremiah J. v. Dakota D., 287 Neb. 617, 843 N.W.2d
820 (2014). Focusing on Andrew’s conduct, not just in the 6
months preceding the filing of the adoption petition, but dating
back to Antaeus’ birth, we find no error in the county court’s
conclusion that Andrew abandoned Antaeus.
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
                 IN RE ADOPTION OF ANTAEUS A.
                       Cite as 31 Neb. App. 907
   Andrew lived with Antaeus for approximately 6 weeks
before being arrested. In the 5 years between Andrew’s arrest
and the abandonment hearing, Andrew has spent a total of
12 hours of supervised visitation with Antaeus. He has never
contributed any sort of support toward Antaeus. While he was
not ordered to pay child support, a biological father has an
obligation to financially support his child. See, State on behalf
of Hopkins v. Batt, 253 Neb. 852, 573 N.W.2d 425 (1998),
overruled on other grounds, State on behalf of Miah S. v. Ian
K., 306 Neb. 372, 945 N.W.2d 178 (2020); Race v. Mrsny,
155 Neb. 679, 53 N.W.2d 88 (1952). And although Andrew
attempted to give some gifts to Rachel in 2018, this was a
single attempt. Where there has been a protracted period of
totally unjustified failure to exercise parental functions, an
isolated contact or expression of interest does not necessar-
ily negate the inference that a person no longer wishes to act
in the role of parent to a child. In re Adoption of Micah H.,
301 Neb. 437, 918 N.W.2d 834 (2018). Even after the expira-
tion of the protection order, which we note applied only to
Rachel, Andrew never attempted to send Antaeus any items
of support.
   We acknowledge that Andrew filed two complaints for
modification in which he sought parenting time and an order
requiring child support; however, even after being awarded
parenting time, he did not exercise it. And although he wrote
several letters to the courts in 2019 and 2021 expressing his
desire to see his son and to pay child support, he failed to take
action to effectuate his words. Furthermore, the more recent
letters were sent after Andrew became aware of the poten-
tial adoption.
   Andrew testified that he sent letters to Rachel, although he
was unable to provide copies or additional evidence providing
their content. There was no evidence that Andrew ever sent
letters or cards to Antaeus. While Rachel did fail to update
her address with the court for a period of time, there was no
evidence that Andrew attempted to send any gifts or make
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
                 IN RE ADOPTION OF ANTAEUS A.
                       Cite as 31 Neb. App. 907
contact with Antaeus during that time, but was unable to do so,
or that he attempted to make any contact once her information
was available.
   Overall, since Antaeus’ birth, including the 6 months preced-
ing the filing of the petition for adoption, Andrew has shown
an absolute relinquishment of custody, control, and care for
Antaeus. He has not performed the natural and legal obliga-
tions of parental care and support. Since his arrest approxi-
mately 6 weeks after Antaeus’ birth, Andrew, despite being
entitled to court-ordered visitation starting in 2018, has spent
12 hours with Antaeus. He made one attempt to provide certain
items for Antaeus but made no other efforts after that 2018
attempt was unsuccessful. While Andrew sent numerous let-
ters to the court, and testified that he sent letters to Rachel,
there was no testimony or evidence that he attempted to send
letters, cards, or gifts to Antaeus. He has willfully neglected to
perform the natural and legal obligations of parental care and
support; therefore, his conduct demonstrates that he has aban-
doned Antaeus.
                       CONCLUSION
  After reviewing for error on the record, we find none. The
order of the county court is affirmed.
                                                 Affirmed.
